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                       EXHIBIT 2

                    Statement of Work
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                              STATEMENT OF WORK

       For Application Support, Maintenance and Enhancement Services

                             Effective Date: 11/01/2016

This Statement of Work (SOW) is hereby incorporated into the terms of the
Master Services Agreement dated 07/18/2014 between Bridge Solutions Group,
Inc. ("Bridge Solutions") and The Bon Ton Department Stores, Inc. ("Bon Ton").
Except where explicitly stated in this SOW, the terms of the Master Services
Agreement shall govern. The effective date of this SOW is 11/01/2016.


1. EXECUTIVE SUMMARY

The objective of this Statement of Work (SOW) is for Bridge Solutions to provide
Bon Ton essential support services and staff augmentation in the following areas:

   •   Application maintenance and support services for Bon Ton's
       implementation of the IBM Sterling Commerce Order Management and
       Centralized Inventory System (Sterling Commerce) .
          •
   •   Systems enhancement and systems development projects related to the
       supported systems, as defined by Bon Ton.



2. COMMUNICATION

Bon Ton will ensure that the Bridge Solutions team has timely access to Bon Ton
business unit personnel as necessary to perform the services of this SOW. The
Bon Ton Project Management Office (PMO) and the related Applications
Systems group will provide project management oversight of project work
stemming from system support activities or new development projects assigned
to Bridge Solutions under this SOW. Bon Ton management will set business
direction and issue resolution for the project team. Weekly status reports will be
prepared by Bridge Solutions reflecting the activities of the reporting period.

Bridge Solutions will provide an internal Project Management function, assuring a
reliable process flow from Bridge Solutions. The Bon Ton and Bridge Solutions
Project Managers will work closely to avoid duplication of effort in project
management functions.

Bridge Solutions Contacts:

  Bridge Solutions Engagement Manager


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Bon Ton Management Contacts:

  SVP, Chief Information Officer
  VP of Application Systems
  DVP, Application Systems

Bon Ton will designate their points of contact for the Bridge Solutions team
members. The named contacts should be copied on all relevant
correspondence.



3. SYSTEM SUPPORT, MAINTENANCE AND ENHANCEMENT SERVICES

  3.1   Goal

        To provide day-to-day systems support, maintenance and enhancement
        activities to maintain service levels as directed by Bon Ton for the
        Sterling Commerce system.

  3.2   Project Description

        Bridge Solutions will provide systems support, emergency fix/repair,
        maintenance and enhancement services through the use of Bridge
        Solutions associates to maintain service levels. Such services include
        emergency fix/repair and support services at all times including nights,
        weekends, and holidays as necessary to meet Bon Ton service levels.

  3.3   Project Tasks

        Bridge Solutions roles include project management, analysis, design,
        coding, testing, implementation, trouble-shooting, systems
        documentation, and activities reporting.

  3.4 Project Deliverables

        Deliverables may be defined in detail by either a support plan/service
        level agreement or project plan for the tasks described. However, in
        general terms, deliverables are as follows:

          System Support: analyzing trouble tickets; providing emergency
          fix/repair services; restoring systems or program functionality sufficient
          to meet service levels; restoring systems services as quickly as
          possible following an outage or abnormal job termination.



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          Maintenance: modifying/updating applications for the purpose of
          increasing the useful life of the system (for example, by making the
          applications compatible with new operating systems or new system
          hardware, or by making the applications more efficient). All
          maintenance activities will be performed at the direction of Bon Ton.

          Enhancements: modifying application systems or creating new
          application systems to provide new functionality for system users. All
          enhancements will be performed at the direction of the Bon Ton.

3.5    Key Success Factors

       Timely completion of deliverables with a high degree of quality and
       accuracy.

       Deliverables must meet the requirements and standards of the Bon Ton
       Systems Development Life Cycle (SDLC), including but not limited to
       standards relating to system documentation and release management.

3.6    Roles and Responsibilities

       Bridge Solutions shall perform the described services either
       independently or jointly with the Bon Ton associates as directed by the
       Bon Ton project or support plan.

       The Bridge Solutions Engagement Manager shall monitor the
       effectiveness of support activities and the support plan, and suggest
       improvements as necessary to meet service levels.

3. 7   Support and Project Plans

       Support plans/service level agreements and project plans are developed
       by Bridge Solutions and approved by Bon Ton. Plans may be updated
       over lime to better align with Bon Ton business objectives and require
       the agreement of both parties which shall not be unreasonably withheld
       by either party.

3.8    Project Risk Analysis

       Both parties must commit to adhering to service levels in response to the
       other party.




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4. COST OF SERVICES

 4.1     Cost: This SOW includes the services of Bridge Solutions resources as
         indicated below. Resources will be billed monthly on a time-and-
         materials basis at the rates indicated on the Resource Schedule.
            Architect $160/hr
            Senior Consultant $130/hr
            Consultant $11 0/hr

       Current identified roles and resources for this SOW are:
            Vishy Rao - Architect
            Karamveer Tanwar- Senior Consultant
            Vijay Kumar- Senior Consultant


 4.2Additional Resources: From time to time, Bon Ton may request
    additional Bridge Solutions resources for project and maintenance/support
    activity under this SOW on a time-and-materials basis. The duration and
    scheduling of these engagements must be agreed upon in writing by both
    parties.

   Additional resource:
     Santosh Dubey - Consultant- with an expected end date 11-11-16

 4.3     Term: The initial term of the SOW is one year from the effective date of
         the SOW. The SOW will automatically renew for successive one-year
         terms unless terminated by either party in accordance with the
         termination clause. During each renewal term (if any), rates will remain
         the same as the previous term, provided however that Bridge Solutions
         may increase the rates by greater of 5% or the published Consumer
         Price Index (CPI) from the previous calendar year, by providing Bon Ton
         with at least ninety (60) days written notice before the beginning of the
         term during which the rate change takes effect.

 4.4     Termination: Bon Ton may terminate this SOW for convenience at any
         time during the initial term or any subsequent renewal term by providing
         Bridge Solutions with at least ninety (90) days written notice. Bridge
         Solutions may terminate this SOW at the end of the initial term or any
         subsequent renewal term by providing Bon Ton with at least ninety (90)
         days written notice, providing however that Bon Ton may at its option
         waive the 90-day period and terminate the SOW immediately. Bridge
         Solutions agrees to work in good faith with Bon Ton to transition the
         services to another service provider.




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IN WITNESS WHEREOF, the parlies have executed this agreement.

FOR THE BON-TON DEPARTMENT STORES, INC.

  By:            ~~
  Name: ___.E~.~~·s~~~~~B~~~~~---------------

  Title:       VP. AeeJ:...-1<.._ S"j!:/t.AAI
  Date:

FOR BRIDGE SOLUTIONS GROUP, INC.

  By:

  Name:            Douglas Brochu____________

  Title:     CEO _________________________

  Date: ___9/16/14_ _ _ _ _ _ _ _ _ _ ____




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